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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


 INTERNATIONAL REFUGEE
 ASSISTANCE PROJECT, et al.,

        Plaintiffs,

        v.                                             Civil Action No. TDC-17-0361

 DONALD J. TRUMP, et al.,

        Defendants.


 IRANIAN ALLIANCES ACROSS
 BORDERS, UNIVERSITY OF MARYLAND
 COLLEGE PARK CHAPTER, et al.,

        Plaintiffs,
                                                       Civil Action No. TDC-17-2921
        v.

 DONALD J. TRUMP, et al.,

         Defendants.


 EBLAL ZAKZOK, et al.,

         Plaintiffs,

         v.                                            Civil Action No. TDC-17-2969

 DONALD J. TRUMP, et al.,

         Defendants.



                                          ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is hereby ORDERED

that:
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   1. The Government's    Motion for Certification of this Court's May 2, 2019 Memorandum

      Opinion and Order for Interlocutory Appeal and for a Stay of Discovery, TDC-17-0361

      ECF No. 289; TDC-17-2921 ECF No. 100; TDC-17-2969 ECF No. 79, is GRANTED IN

      PART and DENIED IN PART.

   2. The Motion is granted in that the Court certifies to the United States Court of Appeals for

      the Fourth Circuit an interlocutory appeal of the Court's ruling on the Motion to Dismiss,

      TDC-17-0361 ECF Nos. 276, 277; TDC-17-2921 ECF Nos. 91, 92; TDC-17-2969 ECF

      Nos. 70, 71.

   3. The Motion is denied in that the Court will not stay discovery during the pendency of any

      such interlocutory appeal.




Date: August 19,2019
